Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 1 of 17

JUDGE KAPLags cr

UNITED STATES DISTRICT COURT ELECTRONICALLY FILED

SOUTHERN DISTRICT OF NEW YORK oo
ee Le -- ee VOCE:

ADAl iE FILED: JUL 1 9 2019)

UNITED STATES OF AMERICA 's a oe?

 

wy

 

 

-Ve- : SEALED INDICTMENT
ALAN KAUFMAN, and : 19 Cr.
TONY GEORGITON, :
Defendants.
SOA
19 CRIM yy A
COUNT ONE

(Conspiracy)
The Grand Jury charges:

RELEVANT PERSONS AND ENTITIES

 

1. Melrose Credit Union (“Melrose CU”), located in
Briarwood, New York, was chartered as a federal credit union in
1922. On or about August 31, 2018, the National Credit Union
Administration (“NCUA”), a federal agency charged with oversight
of credit unions, liquidated Melrose CU. At the time of its
liquidation, Melrose CU had approximately 20,000 members and
assets of approximately $1.1 billion. At all times relevant to
this indictment, Melrose CU provided a variety of financial
services and products to its members, although its primary
business focus was taxi medallion lending in New York City,
Philadelphia, and Miami.

2. At all times relevant to this Indictment, ALAN

KAUFMAN, the defendant, was the Chief Executive Officer (“CEO”)
Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 2 of 17

and Treasurer of Melrose CU, with the authority to approve loans
by Melrose CU. On or about July 5, 2016, KAUFMAN was removed as
CEO by Melrose CU’s Board of Directors (the “Melrose Board”).

3. At all times relevant to this Indictment, TONY
GEORGITON, the defendant, was a member and customer of Melrose
CU, and the owner of several businesses.

MELROSE CU ANTI-BRIBERY POLICY

 

4, At all times relevant to this Indictment, Melrose CU
maintained an anti-bribery policy (the “Anti-Bribery Policy”),
which, in accordance with federal law, generally prohibited
Melrose CU officers from accepting corrupt payments.
Specifically, the Anti-Bribery Policy provided, in part, that
all Melrose CU officers were “prohibited from soliciting for
themselves or for a third party (other than the Credit Union
itself) anything of value from anyone in return for any
business, service, or confidential information of the Credit
Union; and from accepting anything of value from anyone in
connection with the business of the Credit Union, either before
or after a transaction is discussed or consummated.”

5. At all times relevant to this Indictment, Melrose CU
also maintained an employee handbook (the “Handbook”), which
provided, in part, that, “[e]mployees must decline or return any

gift or gratuity valued in excess of One Hundred dollars ($100)
Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 3 of 17

from any member, vendor, supplier, or other person doing
business with Melrose Credit Union. In doing so, please explain
that Melrose Credit Union prohibits Employees from accepting
gifts or gratuities to ensure that business decisions,
transactions, and services are provided on an objective and
professional basis.”

6. On various dates during the course of his employment
at Melrose CU, ALAN KAUFMAN, the defendant, signed forms
acknowledging that he had read the Handbook and understood that
it was his responsibility to comply with the policies contained
therein.

THE FIRST BRIBERY SCHEME

7. As detailed further below, from in or about 2010
through in or about 2015, ALAN KAUFMAN, the defendant, corruptly
accepted and agreed to accept money and other things of value,
including free housing, from TONY GEORGITON, the defendant. In
exchange, KAUFMAN personally approved millions of dollars in
loans from Melrose CU, and the favorable refinancing of over $60
million in pre-existing loans, for GEORGITON and GEORGITON’s
companies. KAUFMAN also arranged for Melrose CU to pay over $2
million to a company owned by GEORGITON for the naming rights to

a ballroom in Queens, New York, and took GEORGITON out for
\ Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 4 of 17

lavish dinners paid for by Melrose CU, including dinners in New
York, New York.

8. On or about November 30, 2010, TONY GEORGITON, the
defendant, purchased a residence in Jericho, New York (the
“Jericho Residence”) — which had been selected by ALAN KAUFMAN,
the defendant — for approximately $630,000. After GEORGITON
acquired the Jericho Residence, GEORGITON permitted KAUFMAN to
live in the house rent-free for over two years.

9. On or about June 27, 2011 -— while ALAN KAUFMAN, the
defendant, was living rent-free at the Jericho Residence —
KAUFMAN personally approved the refinancing of over $60 million
worth of loans at Melrose CU held by a company owned by TONY
GEORGITON, the defendant, including an additional cash loan of
approximately $5 million. The new loan financing terms provided
for a favorable 4.5% interest rate and a 50-year amortization

period.

10. On or about October 31, 2012 — while ALAN KAUFMAN, the
defendant, was living rent-free at the Jericho Residence —
KAUFMAN approved the refinancing of approximately $26 million
worth of loans at Melrose CU held by a company owned by TONY
GEORGITON, the defendant, including an additional cash loan of
approximately $2.5 million, at a favorable 3.25% interest rate

and a 50-year amortization period.
Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 5 of 17

ll. The head of Melrose CU’s loan department (“Melrose
Loan Supervisor”) refused to sign off on the loans described in
paragraphs 9 and 10 of this Indictment because, among other
things, the Melrose Loan Supervisor stated, in sum and
substance, that the interest rates on the loans were too
favorable and the loans did not comply with Melrose CU’s loan
policy. ALAN KAUFMAN, the defendant, personally approved the
loans for TONY GEORGITON, the defendant.

12. On or about September 27, 2011 — while ALAN KAUFMAN,
the defendant, was living rent-free at the Jericho Residence —
KAUFMAN presented a proposal to Melrose’s Board to purchase
naming rights for a ballroom under construction in Astoria,
Queens (the “Melrose Ballroom”) for $2 million. The Melrose
Ballroom was owned by a company owned .by TONY GEORGITON, the
defendant (the “GEORGITON Company”). KAUFMAN did not disclose
to the Melrose Board that he was living rent-free in a house
owned by GEORGITON at the time he sought Board approval for the
naming rights acquisition.

13. The Melrose Board approved the naming rights
acquisition for the Melrose Ballroom on certain conditions,
including that no payments be made by Melrose CU to the
GEORGITON Company until the Melrose Ballroom was fully

constructed. Despite this condition, KAUFMAN issued the first
Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 6 of 17

payment to the GEORGITON Company in December 2012, before the
construction of the Melrose Ballroom had been completed.

14. On or about October 14, 2011, ALAN KAUFMAN, the
defendant, executed a naming rights agreement between Melrose CU
and the GEORGITON Company. On or about October 21, 2011,
Melrose CU’s director of marketing (the “Marketing Director”)
told KAUFMAN, in sum and substance, that the naming rights for
the Melrose Ballroom were worth only approximately $50,000 a
year and suggested that the Marketing Director would have
declined to acquire the naming rights because they were of
minimal marketing value to Melrose CU. Nevertheless, KAUFMAN
proceeded with the deal.

15. Over the next four years, Melrose CU paid
approximately $2 million to the GEORGITON Company for the naming
rights to the Melrose Ballroom.

16. On or about February 1, 2013, ALAN KAUFMAN, the
defendant, purchased the Jericho Residence from TONY GEORGITON,
the defendant, for $630,000 — the same price that GEORGITON had
paid to acquire the house over two years earlier. KAUFMAN
obtained the money used to purchase the Jericho Residence from
GEORGITON, in part, from (i) a $200,000 loan from Melrose CU
that was co-signed by GEORGITON and secured by GEORGITON’s

shares at Melrose CU; and (2) a $240,000 unsecured personal loan
. Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 7 of 17

extended by GEORGITON to KAUFMAN, for which no promissory note
was executed. GEORGITON never made a demand for payment on the
personal loan and KAUFMAN never made a payment on the personal
loan.

17. ALAN KAUFMAN, the defendant, never disclosed to the
Melrose Board that TONY GEORGITON, the defendant, had provided,
or assisted, KAUFMAN with two loans to purchase the Jericho
Residence. Nor did KAUFMAN disclose to the Melrose Board that
he had lived in the Jericho Residence rent~free between in or
about November 2010 and February 2013.

Statutory Allegations

18. From at least in or about 2010 through at least in or
about 2015, in the Southern District of New York and elsewhere,
ALAN KAUFMAN and TONY GEORGITON, the defendants, and others
known and unknown, willfully and knowingly did combine,
conspire, confederate, and agree together and with each other to
commit an offense against the United States, to wit, to violate
Title 18, United States Code, Sections 215(a) (1) and 215(a) (2).

19. It was a part and object of the conspiracy that TONY
GEORGITON, the defendant, and others known and unknown, would
and did corruptly give, offer, and promise a thing of value
greater than $1,000 to a person, with the intent to influence

and reward an officer, director, employee, agent, and attorney
: Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 8 of 17

of a financial institution, to wit ALAN KAUFMAN, the CEO of
Melrose CU, in connection with business and a transaction of
such institution, in violation of Title 18, United States Code,
Section 215(a) (1).

20. It was further a part and object of the conspiracy
that ALAN KAUFMAN, the defendant, as an officer, director,
employee, agent, and attorney of a financial institution, would
and did corruptly solicit and demand for the benefit of a
person, and corruptly accepted and agreed to accept, a thing of
value greater than $1,000 from TONY GEORGITON, the defendant,
and others, known and unknown, with the intent to be influenced
and rewarded in connection with business and a transaction of
such institution, in violation of Title 18, United States Code,
Section 215(a) (2).

Overt Acts

21. In furtherance of the conspiracy and to effect the
illegal objects thereof, the following overt acts, among others,
were committed in the Southern District of New York and
elsewhere:

a. On or about January 3, 2010, ALAN KAUFMAN, the
defendant, took TONY GEORGITON, the defendant, to a dinner at a
restaurant in New York, New York, and used approximately $300 in

Melrose CU funds to pay for that dinner.
Case 1:19-cr-00504-LAK Document1 Filed 07/10/19 Page 9 of 17

b. On or about March 5, 2010, ALAN KAUFMAN, the
defendant, took TONY GEORGITON, the defendant, to a dinner at a
restaurant in New York, New York, and used approximately $800 in
Melrose CU funds to pay for that dinner.

Cc. On or about October 21, 2010, ALAN KAUFMAN, the
defendant, caused an email to be sent from a law firm located in
New York, New York, for the purpose of facilitating the purchase
of the Jericho Residence by TONY GEORGITON, the defendant.

d. On or about December 14 and 20, 2012, ALAN
KAUFMAN, the defendant, caused emails to be sent from a title
agency located in New York, New York, for the purpose of
facilitating KAUFMAN’s purchase of the Jericho Residence from
TONY GEORGITON, the defendant.

(Title 18, United States Code, Section 371.)

COUNT TWO
(Bribery - ALAN KAUFMAN)

The Grand Jury further charges:

22. The allegations contained in paragraphs 1 through 17
and 21 of this Indictment are repeated and realleged as if fully
set forth herein.

23. From at least in or about 2010 through at least in or
about 2015, in the Southern District of New York and elsewhere,
ALAN KAUFMAN, the defendant, as an officer, director, employee,

agent and attorney of a financial institution, to wit, Melrose

9
‘ Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 10 of 17

CU, did corruptly solicit and demand for the benefit of a

person, and corruptly accepted and agreed to accept, a thing of
value greater than $1,000 from a person, to wit, TONY GEORGITON,
the defendant, with the intent to be influenced and rewarded in
connection with business and a transaction of such institution,
in violation of Title 18, United States Code, Section 215(a) (2).

(Title 18, United States Code, Section 215(a) (2) and 2.)

COUNT THREE
(Bribery — TONY GEORGITON)

The Grand Jury further charges:

24. The allegations contained in paragraphs 1 through 17
and 21 of this Indictment are repeated and realleged as if fully
set forth herein.

25. From at least in or about 2010 through in or about
2015, in the Southern District of New York and elsewhere, TONY
GEORGITON, the defendant, did corruptly give, offer, and promise
a thing of value greater than $1,000 to a person, with the
intent to influence and reward an officer, director, employee,
agent, and attorney of a financial institution, to wit ALAN
KAUFMAN, the CEO of Melrose CU, in connection with business and
a transaction of such institution, in violation of Title 18,
United States Code, Section 215(a) (1).

(Title 18, United States Code, Section 215(a) (1) and 2.)

10
. Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 11 of 17

COUNT FOUR
(Bribery — ALAN KAUFMAN)

The Grand Jury further charges:

THE SECOND BRIBERY SCHEME

 

26. From in or about 2010 through in or about 2015, ALAN
KAUFMAN, the defendant, solicited, agreed to accept, and
accepted lavish vacations and other gifts worth tens of
thousands of dollars from a media company located in New York,
New York (“Media Company-1”), in exchange for KAUFMAN’s approval
of increased advertising spending by Melrose CU with Media
Company-1. KAUFMAN did not disclose to the Melrose Board that
KAUFMAN accepted the trips and gifts paid for by Company-1. The
trips paid for by Company-1 were to vacation destinations, and
KAUFMAN was accompanied on each trip by his girlfriend.

27. For example, Media Company-1 paid for the following
trips for ALAN KAUFMAN, the defendant, in exchange for KAUFMAN
approving increased advertising spending by Melrose CU with
Media Company-l1:

a. In or about August 2010, Media Company-1 paid for
KAUFMAN and his girlfriend, who also worked at Melrose CU, to
fly to Paris, France, stay at the Four Seasons George V Paris,
and participate in various activities, including golfing.

b. In or about January 2012, Media Company-1 paid

for KAUFMAN and his girlfriend to fly to Maui, Hawaii, stay at
11
‘ Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 12 of 17

the Four Seasons in Wailea, and participate in various
activities, including golfing and spa treatments.

Cc. In or about 2013, Media Company~-1 paid for
KAUFMAN and his girlfriend to attend the Super Bowl in New
Orleans, including game tickets, flights, and lodging.

28. In order to qualify for these vacations, ALAN KAUFMAN,
the defendant, was required to increase Melrose CU’s advertising
spending at Media Company-1 by an incremental amount over time.
For example, on or about September 23, 2014, the sales employee
at Media Company-1 responsible for the Melrose CU account
emailed KAUFMAN and stated, in part, “[O]ur incentive trip is
back . . . Italy is our May trip . . . Now the details . .. we
do require an incremental spend of 125k in Q1.” After a further
exchange, KAUFMAN replied, “I spoke to [the Marketing Director
of Melrose CU] and turned down some additional purchases on
another station. I know he has been in contact with you. I
suggest that next week you try to work out some package with him
that meets our needs.”

29. In addition to the trips funded by Media Company-1,
ALAN KAUFMAN, the defendant, received free trips from other
Melrose CU vendors. For example, in or about 2011, a different
media company (“Media Company-2”), with which Melrose CU

advertised, paid for KAUFMAN and his girlfriend to fly to

12
% Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 13 of 17

Stockholm, Sweden, to attend a professional hockey game. In or
about 2014, a professional sports company (“Sports Company-1”),
with which Melrose CU advertised, paid for KAUFMAN to attend a
professional football game in San Diego, California. In or
about 2015, Sports Company-1 also paid for KAUFMAN to attend the
National Football League draft held in Chicago, Illinois.

30. KAUFMAN did not seek approval for these vendor-paid
trips from the Melrose CU Board, nor did he disclose these
vendor-paid trips to the Melrose CU Board, in violation of
Melrose CU’s Anti-Bribery Policy.

Statutory Allegations

31. , The allegations contained in paragraphs 1 through 6
and 26 through 30 of this Indictment are repeated and realleged
as if fully set forth herein.

32. From in or about 2010 through in or about 2015, in the
Southern District of New York and elsewhere, ALAN KAUFMAN, the
defendant, as an officer, director, employee, agent, and
attorney of a financial institution, to wit, Melrose CU, did
corruptly solicit and demand for the benefit of a person, and
corruptly accepted and agreed to accept, a thing of value
greater than $1,000 from a person, to wit, vendors of Melrose

CU, including Media Company-1, Media Company-2, and Sports

13
x Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 14 of 17

Company-1, with the intent to be influenced and rewarded in
connection with business and a transaction of such institution.

(Title 18, United States Code, Sections 215(a)(2) and 2.)

FORFEITURE ALLEGATIONS

 

33. As a result of committing one or more of the offenses
charged in Counts One, Two, and Four of this Indictment, ALAN
KAUFMAN, the defendant, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 982(a) (2),
any and all property constituting, or derived from, proceeds the
defendant obtained directly or indirectly, as a result of the
commission of said offense, including but not limited to (i) a
sum of money in United States currency representing the amount
of proceeds traceable to the commission of said offenses and
(ii) all that lot or parcel of land, together with its
buildings, appurtenances, improvements, fixtures, attachments
and easements, located at Section 17, Block 15, Lot 18, 175 High
Pond Drive, Jericho, New York, 11753.

34. As a result of committing one or more of the offenses
charged in Counts One and Three of this Indictment, TONY
GEORGITON, the defendant, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 982(a) (2), any

and all property constituting, or derived from, proceeds

14
‘ Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 15 of 17

GEORGITON obtained directly or indirectly, as a result of the
commission of said offense.
Substitute Assets Provision
35. If any of the above-described forfeitable property, as

a result of any act or omission of the defendants:

a. cannot be located upon the exercise of due
diligence;

b. has been transferred or sold to, or deposited

with, a third person;

c. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty;

15
ne Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 16 of 17

it is the intent of the United States, pursuant to Title 18,
United States Code, Section 982(b), Title 21, United States
Code, Section 853(p), and Title 28, United States Code, Section
2461, to seek forfeiture of any other property of the defendants

up to the value of the above forfeitable property.

(Title 18, United States Code, Section 982;
Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

Lirctlrsry & bu—

FORE PERSON GEOFFREY S. (BERMAN
United States Attorney

16
Case 1:19-cr-00504-LAK Document 1 Filed 07/10/19 Page 17 of 17

Form No. USA-33s-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
-v. -

ALAN KAUFMAN, and
TONY GHEORGITON,

Defendants.

 

INDICTMENT
19 Cr.

(18 U.S.C. §§ 215, 371 & 2.)

GEOFFREY S. BERMAN
United States Attorney.

 

A TRUE BILL

WUE!

fe

eZ
es Sf FOREPERSON

   

 

whol. Dy lool Seach tuwlectren

- Yaw cadre

FF lilo

17
